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    8                     UNITED STATES DISTRICT COURT
    9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
   11   MOSES HEREDIA, and                     Case No. 5:20-cv-02618-JWH-KKx
        HEREDIA BOXING
   12     MANAGEMENT, INC.,
                                               ORDER REGARDING
   13               Plaintiffs,                DEFENDANT’S MOTION TO
                                               DISMISS [ECF No. 96] and
   14         v.                               DEFENDANT’S MOTION FOR
                                               RELIEF FROM ORDER [ECF
   15   MTK GLOBAL SPORTS                      No. 97]
          MANAGEMENT, LLC;
   16   GOLDEN BOY PRODUCTIONS,
          INC.;
   17   VGC, LLP;
        PAUL D. GIBSON;
   18   DANIEL KINAHAN;
        GOLDEN BOY PROMOTIONS,
   19     INC.; and
        MTK GLOBAL USA, LLC,
   20
                    Defendants.
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    1           Before the Court are two motions filed by of Defendant Golden Boy
    2   Promotions, Inc.:
    3         Golden Boy’s motion to dismiss the Third Amended Complaint of
    4           Plaintiff Moses Heredia;1 and
    5         Golden Boy’s motion for relief from an earlier order of the Court or, in
    6           the alternative, to compel arbitration.2
    7   After considering the papers filed in support and in opposition,3 as well as the
    8   argument of counsel at the hearing on those Motions,4 the Court orders that
    9   Golden Boy’s Rule 60(b) Motion is GRANTED and that its Rule 12(b)(6)
   10   Motion is DENIED as moot.
   11                                   I. BACKGROUND
   12   A.      Procedural History
   13           Heredia commenced this action in late 2020. In April 2022, the Court
   14   granted-in-part and denied-in-part both Golden Boy’s motion to dismiss
   15   Heredia’s Second Amended Complaint and Golden Boy’s motion to compel
   16   arbitration.5 In that Order, the Court concluded that most of Heredia’s claims
   17   against Golden Boy were not subject to mandatory arbitration.6 Later that
   18   month, Heredia filed the operative Amended Complaint. Now, through its
   19   Rule 12(b)(6) Motion, Golden Boy moves the Court to dismiss Heredia’s fifth,
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   21           Def.’s Mot. to Dismiss (the “Rule 12(b)(6) Motion”) [ECF No. 96].
        2
                Def.’s Mot. for Relief (the “Rule 60(b) Motion”) [ECF No. 97].
   22   3
                The Court considered the following papers: (1) Third Am. Compl. (the
   23   “Amended Complaint”) [ECF No. 85]; (2) the Rule 12(b)(6) Motion (including
        its attachments); (3) Pl.’s Opp’n to the Rule 12(b)(6) Motion [ECF No. 99];
   24   (4) Def.’s Reply in Supp. of the Rule 12(b)(6) Motion [ECF No. 100]; (5) the
        Rule 60(b) Motion (including its attachments); (6) Pl.’s Opp’n to the Rule 60(b)
   25   Motion [ECF No. 98]; (7) Def.’s Reply in Supp. of Rule 60(b) Motion [ECF
        No. 101].
   26   4
                See Min. Order of Hr’g (the “Minute Order”) [ECF No. 112].
        5
   27           See Order Regarding Mots. to Dismiss and Mot. to Compel Arbitration
        (the “Order”) [ECF No. 83].
   28   6
                Id. at 17:19.

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    1   seventh, and eighth claims for relief against Golden Boy for failure to state a
    2   claim. In addition, through its Rule 60(b) Motion, Golden Boy seeks relief from
    3   the Court’s earlier Order.
    4          Both Motions are fully briefed, and the Court conducted a hearing on
    5   them in July 2022. Counsel for Defendant MTK Global Sports Management,
    6   LLC (“MTK”)7 was unavailable to appear at that hearing, but MTK
    7   subsequently confirmed that it takes no position regarding the Motions.8
    8   B.     Factual Allegations
    9          This case involves a dispute between a boxing manager and several
   10   entities and individuals who are accused of interfering with the manager’s
   11   relationships with his fighters.9 The parties are familiar with the factual
   12   allegations, so the Court will relate only the details that are necessary for it to
   13   rule on the instant Rule 12(b)(6) Motion and Rule 60(b) Motion.
   14          Heredia was the long-time manager of boxer Joseph Diaz.10 During the
   15   time that Heredia managed Diaz, Diaz and Heredia signed a promotion
   16   agreement with Golden Boy.11 Under that Promotion Agreement, “[a]ny
   17   dispute, controversy or claim arising out of or relating to” the Promotion
   18   Agreement, “including the formation, interpretation, breach or termination
   19   thereof, including whether the claims asserted are arbitrable, will be referred to
   20   and finally determined by arbitration in accordance with the JAMS Commercial
   21   Arbitration Rules . . . .”12
   22
   23
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   24         See Minute Order.
        8
              See MTK’s Response to Minute Order [ECF No. 113].
   25   9
              See generally Amended Complaint.
   26   10
              Id. at ¶¶ 1, 2, 24, & 25.
        11
   27         See id. at ¶¶ 26 & 27; see also Decl. of Joshua M. Geller in Supp. of
        Rule 60(b) Motion, Ex. 2 (the “Promotion Agreement”) [ECF No. 97-3].
   28   12
              Promotion Agreement ¶ 13(a).

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    1                               II. LEGAL STANDARD
    2   A.    Motion to Compel Arbitration
    3         Pursuant to the Federal Arbitration Act (the “FAA”), “[a] written
    4   provision in any . . . contract evidencing a transaction involving commerce to
    5   settle by arbitration a controversy thereafter arising out of such contract . . . shall
    6   be valid, irrevocable, and enforceable, save upon such grounds as exist at law or
    7   in equity for the revocation of any contract.” 9 U.S.C. § 2. While the FAA
    8   reflects a “liberal federal policy favoring arbitration,” AT & T Mobility v.
    9   Concepcion, 563 U.S. 333, 339 (2011) (quoting Moses H. Cone Memorial Hosp. v.
   10   Mercury Const. Corp., 460 U.S. 1, 24 (1983)), “arbitration is a matter of contract
   11   and a party cannot be required to submit to arbitration any dispute which he has
   12   not agreed so to submit,” United Steelworkers v. Warrior & Gulf Navigation Co.,
   13   363 U.S. 574, 582 (1960). “Because the FAA mandates that ‘district courts
   14   shall direct the parties to proceed to arbitration on issues as to which an
   15   arbitration agreement has been signed,’ the FAA limits courts’ involvement to
   16   ‘determining (1) whether a valid agreement to arbitrate exists and, if it does,
   17   (2) whether the agreement encompasses the dispute at issue.’” Cox v. Ocean
   18   View Hotel Corp., 533 F.3d 1114, 1119 (9th Cir. 2008) (internal citations and
   19   emphasis omitted) (quoting Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d
   20   1126, 1131 (9th Cir. 2000)).
   21         In evaluating the validity of an arbitration agreement, federal courts
   22   “apply ordinary state-law principles that govern the formation of contracts,”
   23   Ingle v. Circuit City Stores, Inc., 328 F.3d 1165, 1170 (9th Cir. 2003) (quoting First
   24   Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 944 (1995)), “while giving due
   25   regard to the federal policy in favor of arbitration by resolving ambiguities as to
   26   the scope of arbitration in favor of arbitration,” Mundi v. Union Sec. Life Ins. Co.,
   27   555 F.3d 1042, 1044 (9th Cir. 2009) (quoting Wagner v. Stratton Oakmont, Inc.,
   28   83 F.3d 1046, 1049 (9th Cir. 1996)).

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    1   B.    Rule 60(b)—Motion for Relief from Judgment
    2         Under Rule 60(b) of the Federal Rules of Civil Procedure, a district court
    3   may reconsider a previous ruling. See School Dist. No. 1J, Multnomah County,
    4   Oregon v. ACandS, Inc., 5 F.3d 1255, 1262 (9th Cir. 1993). But Rule 60(b)
    5   provides for reconsideration only upon a showing of: (1) mistake, inadvertence,
    6   surprise, or excusable neglect; (2) newly discovered evidence which by due
    7   diligence could not have been discovered before the court’s decision; (3) fraud
    8   by the adverse party; (4) a void judgment; (5) satisfaction of judgment; or
    9   (6) any other reason justifying relief. See id. at 1263. Rule 60(b)(6) requires a
   10   showing that the grounds justifying relief are extraordinary—mere
   11   dissatisfaction with the court’s order or belief that the court is wrong in its prior
   12   decision are not adequate grounds for relief. See Twentieth Century-Fox Film
   13   Corp. v. Dunnahoo, 637 F.2d 1338, 1341 (9th Cir. 1981).
   14         In addition, this Court’s Local Rules define the situations in which a party
   15   may seek the reconsideration of an order:
   16         A motion for reconsideration of the decision on any motion may be
   17         made only on the grounds of (a) a material difference in fact or law
   18         from that presented to the Court before such decision that in the
   19         exercise of reasonable diligence could not have been known to the
   20         party moving for reconsideration at the time of such decision, or
   21         (b) the emergence of new material facts or a change of law occurring
   22         after the time of such decision, or (c) a manifest showing of a failure
   23         to consider material facts presented to the Court before such
   24         decision.
   25   L.R. 7-18. A motion for reconsideration “may not be used to raise arguments or
   26   present evidence for the first time when they could reasonably have been raised
   27   earlier in the litigation.” Kona Enterprises, Inc. v. Estate of Bishop, 229 F.3d 877,
   28   890 (9th Cir. 2000).

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    1                                   III. DISCUSSION
    2   A.    Rule 60(b) Motion
    3         Golden Boy argues that the Court erred “by making a determination as to
    4   the arbitrability of [Heredia’s] interference claims.”13 Golden Boy is correct.
    5         “The FAA . . . places arbitration agreements on an equal footing with
    6   other contracts and requires courts to enforce them according to their terms.”
    7   Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 67 (2010) (citations omitted).
    8   Importantly, parties “can agree to arbitrate gateway questions of arbitrability,
    9   such as whether the parties have agreed to arbitrate or whether their agreement
   10   covers a particular controversy.” Id. at 68-69 (quotation and citations omitted).
   11         Here, the parties to the Promotion Agreement agreed that “[a]ny dispute,
   12   controversy or claim arising out of or relating to” the Promotion Agreement,
   13   “including the formation, interpretation, breach or termination thereof,
   14   including whether the claims asserted are arbitrable, will be referred to”
   15   arbitration.14 In its original motion to compel arbitration, Golden Boy pointed to
   16   that provision, but did not emphasize it.15 Nevertheless, the Court erred by
   17   failing to address that provision in its Order. Whether Heredia’s claims against
   18   Golden Boy are subject to arbitration is itself a matter that is subject to
   19   arbitration.16 Accordingly, the Rule 60(b) Motion is GRANTED.
   20         “When arbitration is mandatory, courts have discretion to stay the case
   21   under 9 U.S.C. § 3 or dismiss the litigation entirely.” Farrow v. Fujitsu Am.,
   22   Inc., 37 F. Supp. 3d 1115, 1126 (N.D. Cal. 2014) (citing Sparling v. Hoffman
   23   Constr. Co., 864 F.2d 635, 638 (9th Cir. 1988)). Here, the dismissal of Heredia’s
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        13
   25          Rule 60(b) Motion 2:3-4.
        14
               Promotion Agreement ¶ 13(a).
   26   15
               See Mot. to Compel Arbitration [ECF No. 54] 5:3-9 & 7:7-15.
   27   16
               At the hearing, Heredia’s counsel argued that Heredia’s claims are not
        subject to arbitration. Those arguments may have merit. But it is up to the
   28   arbitrator, not this Court, to rule on them.

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